931 F.2d 887Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Jack M. OFSA, Petitioner,v.DIRECTOR, OFFICE OF WORKERS' COMPENSATION PROGRAMS, UNITEDSTATES DEPARTMENT OF LABOR, Eastern AssociatedCoal Corporation, Respondents.
    No. 91-1711.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 8, 1991.Decided April 25, 1991.
    
      On Petition for Review of an Order of the Benefits Review Board.
      Jack M. Ofsa, petitioner pro se.
      Helen Hart Cox, Barbara J. Johnson, United States Department of Labor, Paul Edwin Frampton, Bowles, Rice, McDavid, Graff &amp; Love, Charleston, W.Va., for respondents.
      Ben.Rev.Bd.
      AFFIRMED.
      Before MURNAGHAN, SPROUSE and NIEMEYER, Circuit Judges.
      PER CURIAM:
    
    
      1
      Jack M. Ofsa seeks review of the Benefits Review Board's decision and order affirming the administrative law judge's denial of black lung benefits pursuant to 30 U.S.C. Secs. 901 et seq.    Our review of the record and the Board's decision and order discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the Board.  Ofsa v. Director, Office of Workers' Compensation Programs, 88-2940-BLA (Ben.Rev.Bd. Dec. 10, 1990).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    